         Case 1:18-cv-02901-BAH Document 14 Filed 05/15/19 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  CENTER FOR INVESTIGATIVE
  REPORTING,

                Plaintiff,

                         v.                         Civil Action No.: 18-2901 (BAH)

  UNITED STATES CUSTOMS AND
  BORDER PROTECTION, et al.,

                Defendants.


                DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 56, Defendants respectfully request that this

Court enter summary judgment in their favor. In support of this Motion, Defendants respectfully

refer the Court to the accompanying Memorandum of Law, Statement of Material Facts about

which there is no Genuine Dispute, and supporting exhibits.

May 15, 2019                                Respectfully submitted,

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